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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

JOHN NANNI,                           )
an individual,                        )
                                      )
       Plaintiff,                     )                Case No:
                                      )
v.                                    )
                                      )
INDEPENDENCE PLAZA, LLC,              )
a Delaware Limited Liability Company, )
                                      )
       Defendant.                     )
____________________________________/

                                        COMPLAINT

       Plaintiff, JOHN NANNI, an individual, by and through his undersigned counsel, hereby

files this Complaint and sues INDEPENDENCE PLAZA, LLC, a Delaware Limited Liability

Company, for injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. §§ 12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and states as follows:

                              JURISDICTION AND PARTIES

       1.     This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

       3.     Plaintiff, JOHN NANNI, (hereinafter referred to as “MR. NANNI”) is a resident of

the State of Delaware.

       4.     MR. NANNI is a qualified individual with a disability under the ADA. MR.

NANNI suffers from Post-Polio Syndrome. MR. NANNI can only walk a very limited distance

each day, and is otherwise confined to a wheelchair.



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        5.      Due to his disability, Plaintiff is substantially impaired in several major life

activities including walking and standing, and requires a wheelchair for mobility.

        6.      The Defendant, INDEPENDENCE PLAZA, LLC, (hereinafter referred to as

“DEFENDANT”) is a Delaware Limited Liability Company registered to do business in Delaware.

DEFENDANT is the owner, lessee, and/or operator of the place of public accommodation

including the real property and improvements which is the subject of this action, to wit:

Independence Mall, generally located at 1601 Concord Pike, Wilmington, DE 19803 (“the

Property”). The Defendant is responsible for complying with the obligations of the ADA.

        7.      All events giving rise to this lawsuit occurred in the District of Delaware.

                                           COUNT I
                              (VIOLATION OF TITLE III OF THE ADA)

        8.      The allegations set forth in the preceding paragraphs above are incorporated by

reference as if fully set forth herein.

        9.      The Property, a shopping plaza, is a place of public accommodation and is therefore

subject to Title III of the ADA.

        10.     MR. NANNI has visited the Property several times during the past year, regularly

travels to the Wilmington area where the Property is situated and plans to return to the Property in

the near future.

        11.     During his visits, MR. NANNI experienced serious difficulty accessing the goods

and utilizing the services therein due to the architectural barriers as discussed herein.

        12.     MR. NANNI intends to and will visit the Property to utilize the goods and services

in the future, but fears that he will face the same barriers to access as discussed herein.

        13.     Defendant has discriminated, and continues to discriminate, against Plaintiff in

violation of 42 U.S.C. §§ 12181 et seq. and 28 C.F.R. §§ 36.304 et seq. by excluding and/or


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denying Plaintiff the benefits of the goods and services located on the Property by failing to have

accessible facilities by January 26, 1992. These barriers to access include, but are not limited to

the following items which plaintiff personally observed and/or encountered at the Property which

reduced and hindered his access:

            A.      Plaintiff personally encountered inaccessible parking throughout the

                    Property due to lack of signage on any of the disabled use parking spaces

                    and lack of adequate access aisles on many of the disabled use parking

                    spaces. These conditions made it difficult for Plaintiff to identify the

                    proper areas in which to park and also made it more difficult for him to

                    safely load and unload out of his vehicle.

            B.      Plaintiff personally encountered inaccessible curb ramps on the

                    designated accessible routes to the Property entrances due to excessive

                    running slopes, steep side flares and lack of smooth transitions. These

                    conditions made it difficult and unsafe for Plaintiff to traverse the ramps

                    and increased his risk of fall.

            C.      Plaintiff personally encountered an inaccessible route between the

                    disabled use parking spaces and the 9 Round Kickboxing Fitness Gym

                    due to a high curb and the absence of a curb ramp. This condition made

                    it difficult for Plaintiff to gain access to the adjacent businesses.

            D.      Plaintiff personally encountered numerous inaccessible tenant entrances

                    throughout the Property due to excessive lips and/or step ups at the front

                    doors without a ramp. This condition made it impossible for Plaintiff to

                    gain access to these establishments in his wheelchair.

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             E.       Plaintiff personally encountered inaccessible sections of the Property

                      sidewalk due to pavers and pavement in disrepair, excessive gaps and

                      cross slopes in excess of 1:48. Additionally, the sidewalk does not

                      connect with the Melting Pot restaurant on either side. This forces

                      wheelchair users including Plaintiff to exit the sidewalk and enter

                      vehicular traffic in order to access the sidewalk at the Melting Pot

                      restaurant.

       14.        To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       15.        Independent of his intent to return as a patron of the Property, Plaintiff additionally

intends to return to the Property as an ADA tester to determine whether the barriers to access stated

herein have been remedied. However, but for the above-described barriers to access, Plaintiff

would visit the Property more often.

       16.        Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the Defendant.

       17.        Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       18.        The Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

                                       PRAYER FOR RELIEF




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       WHEREFORE, the Plaintiff demands judgment against DEFENDANT and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by DEFENDANT is

               in violation of the ADA;

       B.      That the Court enter an Order directing DEFENDANT to alter the facilities to make

               them accessible to and usable by individuals with disabilities to the full extent

               required by Title III of the ADA;

       C.      That the Court enter an Order directing DEFENDANT to evaluate and neutralize

               the policies and procedures towards persons with disabilities for such reasonable

               time so as to allow DEFENDANT to undertake and complete corrective

               procedures.

       D.      That the Court award reasonable attorneys’ fees, costs (including expert fees), and

               other expenses of suit, to the Plaintiff; and that the Court award such other and

               further relief as it deems necessary, just and proper.

       E.      That this Court award Plaintiff such other additional and proper relief as may be

               just and equitable.



                                      Respectfully Submitted,


                              By: /s/ David T. Crumplar
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